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                                                                   April 15, 2025
      Via ECF
      Honorable Mary Kay Vyskocil
      United States District Court
      Southern District of New York
      500 Pearl Street
      New York, NY 10007
                   Re:       Joseph Reiver v. The City of New York
                             25-cv-01376 (MKV)(GS)
      Your Honor:

                   We are Assistant Corporation Counsels in the Office of Muriel Goode-Trufant,
      Corporation Counsel of the City of New York, attorney for the Defendant The City of New York
      (“City”) in the above captioned action. We write jointly with the attorneys for Plaintiff Joseph
      Reiver pursuant to the Court’s April 8, 2024 Order (ECF No. 33) to state our “positions on
      whether Court has jurisdiction to entertain a motion to dismiss this entire case while Plaintiff's
      interlocutory appeal of the Court's earlier Opinion and Order [Denying Plaintiff's Application or
      Emergency Relief (“Plaintiff’s TRO”)] remains pending” before the Court of Appeals for the
      Second Circuit. Id.
          A. Defendant’s Position
                       Defendant contends that this Court is not divested of jurisdiction under Coinbase,
      Inc. v. Bielski, 599 U.S. 736 (2023) while Plaintiff’s appeal is pending. “Although the filing of a
      notice of appeal ordinarily divests the district court of jurisdiction over issues decided in the
      order being appealed, jurisdiction is retained where, as here, the appeal is from an order granting
      or denying a preliminary injunction.” Webb v. GAF Corp., 78 F.3d 53, 55 (2d Cir. 1996); see
      also 11A Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2962 (“An
      appeal from the grant or denial of a preliminary injunction does not divest the trial court
      of jurisdiction…The only restriction on the trial court’s power occurs if the appellate court enters
      an order staying the lower court until the appeal has been completed.”). Though Plaintiff
      attempts to distinguish Webb, Webb’s reference to “different considerations” concerned whether
      the appeal of a preliminary injunction was moot, not whether the district court had jurisdiction to
      consider an action’s merits while the appeal was pending. Webb, 78 F.3d at 56. Likewise, New
      York v. United States Dep’t of Homeland Sec., 974 F.3d 210, 215 (2d Cir. 2020), does not limit
      Webb to its facts, but rather contrasts Webb with the situation where “the district court undertook
      to reconsider the very preliminary injunction that was under review.” Id. at 215.
                While the Supreme Court in Coinbase held that a “district court must stay its
proceedings while the interlocutory appeal on arbitrability is ongoing,” this ruling did not create
a blanket rule that all actions are stayed when any interlocutory appeal has been filed. 599 U.S. at
741. To start, in Coinbase the appealed order was on a motion to compel arbitration under
section 16(a) of the Federal Arbitration Act (“FAA”). In effect, the ultimate issue in Coinbase
was whether the district court would retain jurisdiction over the action or whether the parties to
the action would be required to arbitrate. Thus, the question resolved in Coinbase was “whether
the case belongs in arbitration or instead in the district court,” and therefore “the entire case is
essentially ‘involved in the appeal.’” Id. at 741.

                 There is no indication that Coinbase divests district courts of jurisdiction pending
all interlocutory appeals. See AG of New Jersey v. Dow Chem. Co., No. 23 Civ. 2449 (RK)(JBD),
2024 U.S. Dist. LEXIS 119904, at *29 (D.N.J. July 9, 2024) (“Absent indication from the
Supreme Court that its analysis applies to other statutory rights to appeal, the Court cannot find
that Coinbase governs this case. Such interpretation would be at odds with the Supreme Court's
own longstanding precedent that a stay pending appeal is an extraordinary remedy.”); City of
Martinsville v. Purdue Pharma, L.P., No. 24 Civ. 00002, 2024 U.S. Dist. LEXIS 167368, at *37
(W.D. Va. Sep. 16, 2024) (explaining Coinbase is limited to arbitration appeals under FAA §
16(a)). Indeed, one district court canvassed “approximately 60 federal cases applying or citing
Coinbase” and found that “only two” expanded the Supreme Court’s reasoning beyond
arbitrability, and neither of those dealt with a preliminary injunction appeal. AG of New Jersey,
2024 U.S. Dist. LEXIS 119904, at *30. And at least one Court of Appeals held, post-Coinbase,
that a district court may rule on a motion to dismiss while an appeal of a preliminary injunction
is pending. Satanic Temple, Inc. v. Tex. Health & Hum. Serv. Comm’n, 79 F.4th 512, 514 (5th
Cir. 2023) (holding that the “district court had jurisdiction to proceed on the merits” because an
“appeal from a grant or denial of a preliminary injunction does not inherently divest the district
court of jurisdiction”). Finally, the application of Coinbase is most appropriate where a pending
appeal raises jurisdictional or venue issues that would make further litigation unnecessary. See,
e.g., A.O.A. v. Rennert, No. 11 Civ. 44(CDP), 2023 U.S. Dist. LEXIS 225091, at *4 (E.D. Mo.
Sep. 5, 2023) (“Similar to the arbitrability question in Coinbase, the question on appeal here is
whether the case belongs in this Court or in another forum, namely Peru.”).

               Although there are overlapping issues raised in Plaintiff’s TRO and in
Defendant’s proposed motion to dismiss – namely whether the Visual Artists Rights Act applies
to the Elizabeth Street Garden – a decision on the propriety of denying a preliminary injunction
would not dispose of the case. And Plaintiff’s arguments regarding judicial resources or potential
mootness are irrelevant to the question of whether this Court has jurisdiction to consider
Defendant’s motion to dismiss.

       B.      Plaintiff’s Position

        Plaintiff respectfully submits that this Court’s jurisdiction to entertain a motion to dismiss
the entire case is divested during the pendency of Plaintiff’s appeal. The jurisdictional issue is
resolved by the Supreme Court’s Coinbase and Griggs decisions. As noted by this Court, "[a]n
appeal, including an interlocutory appeal, divests the district court of its control over those
aspects of the case involved in the appeal.’" Coinbase, Inc. v. Bielski, 599 U.S. 736, 740 (2023)
(quoting, Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982)). As explained in

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Griggs, that is because it is not "tolerable" to have a situation in which a district court and a court
of appeals "would both have . . . the power to modify the same judgment." Griggs, at 59-60.

         Here the appeal and a motion to dismiss will address the identical aspects of the case. The
Court’s earlier Opinion and Order (Doc. 29), denying Plaintiff’s application for emergency
relief, is entirely based on this Court’s conclusion that Plaintiff is not likely to succeed on the
merits of his VARA claim, finding that “the Elizabeth Street Garden is not a ‘work of visual art’
within the narrow definition of that term under VARA, and Plaintiff is not an ‘author’ within the
meaning of the statute.” Plaintiff’s appeal challenges this conclusion, placing this issue directly
before the Second Circuit. Defendant’s proposed Motion to Dismiss (see, Doc. 31) substantially
mirrors this Court’s Opinion and Order. Thus, were this Court to retain jurisdiction for the
purpose of ruling on Defendant’s proposed Motion to Dismiss, it will create exactly the
intolerable situation that Griggs and Coinbase have sought to preclude. Both this Court and the
Second Circuit will rule on the ultimate issue as to whether Plaintiff’s claim is likely to succeed
on the merits.

        Webb v. GAF Corp. 78 F.3d 53 (2d Cir. 1996) is distinguishable. As stated therein, “[t]he
issues presented by this appeal involve the appropriateness of the posttrial preliminary injunction
that was issued by the district court. Obviously, quite different considerations are presented by a
preliminary injunction that is entered prior to a final judgment on the merits, and a permanent
injunction that constitutes a central component of such a final judgment.” Webb, at 56. (emphasis
supplied). The appeal of the District Court’s denial of Plaintiff’s pre-trial preliminary injunction
and any motion to dismiss, both require an assessment of the merits of Plaintiff’s claim, a
duplicative waste of judicial resources.

        Moreover, the Second Circuit declined to accord to Webb the broad scope that Defendant
is urging, limiting it instead to its specific facts. See, New York v. United States Dep’t of
Homeland Sec., 974 F.3d 210, 215 (2d Cir. 2020) (“We are not persuaded by the district court's
reliance on instances where we have found district courts had jurisdiction during the pendency of
an appeal. In Webb v. GAF, 78 F.3d 53 (2d Cir. 1996), for example, we dismissed an appeal of a
preliminary injunction as moot, when during the pendency of the appeal of the preliminary
injunction, the district court decided pending post-trial motions in accordance with jury
determinations and made a dispositive ruling on the merits of the case that rendered the
injunction permanent. … Webb is not analogous to the instant case.”)

        Satanic Temple, Inc. v. Tex. Health & Hum. Serv. Comm’n, 79 F.4th 512 (5th Cir. 2023),
cited by Defendant as a post-Coinbase, notably references neither Coinbase nor Griggs.

        Were this Court to retain jurisdiction and dismiss Plaintiff’s claim, it would moot
Plaintiff’s appeal, even if the Second Circuit reverses this Court’s prior Opinion and Order.
Thus, Plaintiff would be constrained to file a further appeal to protect his rights. For the sake of
judicial economy and conservation of resources, Plaintiff respectfully urges this Court to decline
jurisdiction over this action during the pendency of Plaintiff’s appeal.

Respectfully submitted,



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  /S/                                            /S/
  Genan F. Zilkha                                Steven J. Hyman
  Gregory O’Brien                                Norman Siegel
  Assistant Corporation Counsels                 Attorneys for Plaintiff

  cc:    All parties, via ECF




The Court lacks jurisdiction to entertain a motion to dismiss this entire case while Plaintiff's interlocutory
appeal is pending. As such, the City's request for leave to file a motion to dismiss [ECF No. 31] is
DENIED without prejudice to renewal after the resolution of the appeal. IT IS HEREBY ORDERED that
the parties must file a joint status letter within three days of the Second Circuit's decision.

The Clerk of Court respectfully is requested to terminate ECF number 31.



                                                 April 16, 2025




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